20-11161-tmd Doc#202 Filed 09/01/21 Entered 09/01/21 12:24:53 Main Document Pg 1 of
                                         2




  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: September 01, 2021.

                                                             __________________________________
                                                                       TONY M. DAVIS
                                                             UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________

                                  UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF TEXAS
                                           AUSTIN DIVISION

  IN RE:                                          §
                                                  §
  ALLAN L. REAGAN,                                §           CASE NO. 20-11161-TMD
      Debtor                                      §           CHAPTER 11


                   AGREED ORDER REGARDING DEBTOR’S OBJECTION TO
                         CLAIM NO. 11 OF ROP ARTCRAFT, LLC


           CAME ON FOR CONSIDERATION the Debtor’s Objection to Claim No. 11 filed by

  ROP Artcraft, LLC (the “Claim”). As evidenced by the signature of counsel below, the parties

  have agreed upon a resolution of the objection. Accordingly, it is

           ORDERED that the Claim is allowed as a Class 3 general unsecured claim in the amount

  of $2,506,076.89. The Claim is otherwise disallowed.

                                                ###




  038540-06173/4824-7895-1929.1                                                         Page 1
20-11161-tmd Doc#202 Filed 09/01/21 Entered 09/01/21 12:24:53 Main Document Pg 2 of
                                         2




  AGREED:

  WALLER LANSDEN DORTCH & DAVIS, LLP


  By: /s/ Mark C. Taylor________________________________________
          Mark C. Taylor
          State Bar No. 19713225
          100 Congress Avenue, 18th Floor
          Austin, Texas 78701
          Telephone: (512) 685-6400
          Facsimile: (512) 685-6417
          mark.taylor@wallerlaw.com

  ATTORNEYS FOR DEBTOR AND
  DEBTOR IN POSSESSION


  GORDON DAVIS JOHNSON & SHANE P.C.


  By: /s/ Harrel L. Davis III________________________________________
          Harrel L. Davis III
          State Bar No. 05567560
          4695 N. Mesa Street
          El Paso, Texas 79912
          Telephone: (915) 545-1133
          Facsimile: (915) 545-4433
          hdavis@eplawyers.com

  ATTORNEYS FOR ROP ARTCRAFT LLC




  038540-06173/4824-7895-1929.1                                            Page 2
